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            Case 1:18-bk-13319         Doc 37     Filed 05/16/19 Entered 05/17/19 00:21:23                 Desc
                                     Imaged Certificate of Notice Page 1 of 2


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             This document has been electronically entered in the records of the United
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             States Bankruptcy Court for the Southern District of Ohio.
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           IT IS SO ORDERED.
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           Dated: May 13, 2019                             
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            Case 1:18-bk-13319              Doc 37 Filed 05/16/19 Entered 05/17/19 00:21:23                               Desc
                                          Imaged Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 18-13319-bab
Charlene Marie Davis                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-1                  User: williamt                     Page 1 of 1                          Date Rcvd: May 14, 2019
                                      Form ID: pdf01                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 16, 2019.
db             +Charlene Marie Davis,   2454 Mustang Drive,   Cincinnati, OH 45211-3713

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 16, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 14, 2019 at the address(es) listed below:
              Asst US Trustee (Cin)    ustpregion09.ci.ecf@usdoj.gov
              Brian D Flick    on behalf of Debtor Charlene Marie Davis bflick@dannlaw.com,
               notices@dannlaw.com;bflickecf@gmail.com;4724185420@filings.docketbird.com;notices@nextchapterbk.c
               om;edwardo@dannlaw.com;4724185420@filings.docketbird.com
              E. Hanlin Bavely    trusteebavely@zoomtown.com, ehb@trustesolutions.net
                                                                                            TOTAL: 3
